         Case 7:16-cv-00657 Document 14 Filed in TXSD on 07/12/17 Page 1 of 1
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                              July 12, 2017
                              UNITED STATES DISTRICT COURT
                                                                                           David J. Bradley, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

ROGELIO RAMOS, et al,         §
                              §
      Plaintiffs,             §
VS.                           § CIVIL ACTION NO. 7:16-CV-00657
                              §
ALLSTATE VEHICLE AND PROPERTY §
INSURANCE COMPANY, et al,     §
                              §
      Defendants.             §

                                                ORDER

           The Court now considers the joint stipulation of dismissal filed in this case.1 Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) provides for dismissal without court order when the stipulation

of dismissal is signed by all parties who have appeared. Here, the stipulation of dismissal is

signed by all parties who have appeared.2 Thus, the case is DISMISSED WITH PREJUDICE.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 12th day of July, 2017.


                                                     ___________________________________
                                                     Micaela Alvarez
                                                     United States District Judge




1
    Dkt. No. 13.
2
    Id.


1/1
